 

Case 2:05-cr-00016-KS-RHW Document 17 Filed 01/09/06

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QsAo 2453 (R¢v. 12/03) Judgmem in a criminal case [MLW
Sheet l

UNiTED STATES DisTRiCT COURT

 

  
 

 

 

 

SOUTHERN District of
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
CHARLES C_ WALKER Case Number: 2:05cr16 KS~RHW-()Ol
USM Number: 08105-043

Brian Lucas
Defendant’s Attomey

THE ])EFENDANT:
l pleaded guilty to count(s) l and 2 Of Information

l:l pleaded nolo contendere to count(s)
which Was accepted by the court.

 

I:I was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

 

_ Date Offense
Title & Section Nature of Offense Ended Count
18 U.S.C. §1956(a)(3)(B) Money laundering 1/7/05 l
and (C)
18 U.S.C. §982 Criminal Fort`eiture 2
The defendant is sentenced as provided in pages 2 through 7 of this judgmentl The sentence is imposed pursuant to
the Sentencing Ret`orm Act of 1984.
|:l The defendant has been found not guilty on count(s)
|`_`| Count(s) m is i:| are dismissed on the motion of the United States.

 

' _ lt is ordered that the defendant _rnust notify the United States attorney for this district within 30 da s of _any change of name, residence1
or mailing address until all fines, restitution,_ costs, and special assessments imposed by this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes iii economic circumstances

lanui=ii"»' 4. 2006
]jiili: n| llln'.|:_l.t:¢sltit:irl nl judgment
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- 7 _r.»-
Sign_l:i.rie gc . ]'_ -Li_ "

Keitli Starrett, United States District ]udge
Narne and Title of Judge

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E)L'.ll:

 

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AO 245B (Rcv. 12/03) Judgment in Criminal Case

 

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Judgment _ Page 2 uf 7
DEFENDANT: Charles C. Walker
CASE NUMBER: 2205€1'16 KS-RHW-O()l

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of: 63 months

l The court makes the following recommendations to the Bureau of Prisons: _
The Court recommends designation to an institution closest to the defendant’s home for which he is eligible

[] The defendant is remanded to the custody of the United States Marshal.

[:l The defendant shall surrender to the United States Marshal for this district

[:l at I:| a.rn. l:l p.m. on

 

 

|:I as notified by the United States Marshal.

l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
l before 2 p.m. on April 4, 2006
l:l as notified by the United States Marshal.

l:| as notified by the Probation or Pretrial Services Office.

RETURN

l have executed this judgment as follows:

Defendant delivered on lo

, with a certified copy of this judgment

 

 

 

 

UNlTED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL

AO 245B (Rev. 12/03) Judgment in a Criminal Case

Shect 2A _ imprisonment

 

 

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AO 245B (Rev. 12/03) .ludgrnent in a Criminal Case

Shcct 3 m Supervised Release

 

 

Judgment#l’age 3 of 7
DEFENDANT: Charles C. Walker '
CASE NUMBER: 2:0501'16 KS-RHW-OOl
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 years

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfull possess a controlled substance The defendant shall refrain from any unlawful use ofl a controlled
substance The defendant shall su mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, w.orks, or is a
student, as directed by the probation officer. (Checl<, if applicable.)

The defendant shall participate in an approved program for domestic violence (Checl<, if applicable.)

lf this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.

1)
2)

3)
4)
5)

6)
7)

3)
9)

10)

ii)
iz)

13)

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the ldefend}z;tnt shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
eac mont ;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and nieet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation-officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro ation officer;

the defendant shall permit a_ probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as directed by the ro_bation officer, the defendant shall notify_third parties _of risks that may be occasioned by the defendant`s criminal
record or persona _ history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement

AO 24513 (Rev. 12/03) ludgment in a Criminal Case

Sheet 3A j Supervised Release

 

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AO 2453 (Rev. 12/03) Judgment in a Criininal Case
Sheet 3C - Supervised Release

Judgment-l’age 4 »::-!' 7

 

DEFENDANT: Charles C. Walker
CASE NUMBER: 2:0501'16 KS-RHW-OOI

SPECIAL CONDITIONS OF SUPERVISION

l. The defendant shall provide the probation office with access to any requested financial information
2. The defendant shall abstain from the use of alcohol and illegal drugs

3. ”_l`he defendant shall not use any mood altering substances including prescribed medication, without permission of the
probation office . ' l

 

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Sheet 5 f Criminal Monetary Penalties

.ludgment - Page 5 nl 7
DEFENDANT: Charles C. Walker
CASE NUMBER: 2:050r16 KS-RHW-OOl

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 5 5
|:| The determination of restitution is deferred until An Amended Jiidgment in a Cri‘mi'nal Case(AO 245C) will be entered

after such determinationl
l:| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each pa§ee shall receive an approximatel)]/;j)ro ortioned _ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid. 4

Name of Payee Total Loss* Restitution Ordered Priority or Percentage_
TOTALS ‘51' §

|:] Restitution amount ordered pursuant to plea agreement $

m The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. §`3612(g).

|:| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|:} the interest requirement is waived for the [:| fine [:| restitution

[:] the interest requirement for the l:| fine m restitution is modified as follows:

* Findings for the total amount of losses are reqéuired under Chapters 109A, l 10, 110A, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199 .

iri
Sheet 6 » Schedule of l"uyml:nl-= _

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Judgment - Page 6 of 7

 

DEFENDANT: Charles C. Wa]ker
CASE NUMBER: 2:050r16 KS-RHW-()Ol

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A l Lump sum payment of $ 100.00 due immediately

[:| not later than ,or
[:| in accordance [:| C, |:I D, |:l E, or |:§ Fbelow; or

 

B |___| Payment to begin immediately (may be combined with l'_'] C, |:| D, or |:| F below); or

C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [:] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

1-". |:] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F' |'_'] Special instructions regarding the payment of criminal monetary penalties:

ijnle_ss the court has expressl ordered otherwis_e, if this judgment imposes imprisonment aylment of criminal monetary penalties is due during
imprisonment All crimina moneta penalties, except t ose payments made throug t e Federal Bureau of Prisons’ lnmate Financia
Responsibility Program, are made to t e clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

|:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution
|j The defendant shall pay the following court cost(s):

EI The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _the following order1 (IB assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interestj (6) community restitution, (7) pena `

ties, and (8) costs, including cost of prosecution and court costs.

 

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Sheet 6B - Schedule of P.'-iyme nix

 

 

 

Judgrnent_Page '.' n l

 

DEFENDANT: Charles C. 'Walker
CASE NUMBER: 2:0501‘1 6 KS-RHW-OOI

ADDITIONAL FORFEI'I`ED_ PROPERTY

Real property listed in Agreed Preliminary Order of Forfeiture.

